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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAAC W. SANDERS,                 :              No. 3:18-CV-1423
                        Plaintiff :
                                  :              Judge Caputo
             v.                   :
                                  :              Electronically Filed Document
PENNSYLVANIA’S STATE SYSTEM :
OF HIGHER EDUCATION,              :              Complaint Filed 07/17/18
                     Defendants :


          DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR
           MOTION TO DISMISS THE AMENDED COMPLAINT
      Defendants East Stroudsburg University, Pennsylvania State System of

Higher Education (“PASSHE”), Cavanaugh, Brogan, Dillman, Welsh, Borland,

and Bruno, by their attorneys moved for dismissal of the Amended Complaint

pursuant to Fed. R. Civ. P. 12(b). Plaintiff Isaac Sanders (“Sanders”) has filed a

Brief in Opposition. In that brief, Sanders concedes to the dismissal of Defendants

Cavanaugh, Brogan, Welsh, and Bruno. He additionally concedes dismissal of the

Second, Third, and Fourth Causes of Action in his Amended Complaint.

Defendants East Stroudsburg University, PASSHE, Dillman, and Borland now file

this Reply Brief in support of their motion to dismiss.

I.    The Continuing Violations Doctrine is Not Applicable.

      In his Brief in Opposition, Sanders argues that his claims are not time barred

because the continuing violations doctrine extends the statute of limitations. This
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argument ignores that the continuing violations doctrine is not available because

the remaining Defendants did not perform any act within the statute of limitations

time period. Further, Sanders was fully aware of his injury in 2009. No amount of

discovery will overcome this failing and therefore, dismissal is appropriate.

      A.     Defendant Dillman and Defendant Borland Could Not Have
             Acted Within the Statute of Limitations.

      In his brief, Sanders acknowledges that for the continuing violations doctrine

to apply, separate and repeated acts by the Defendants are required. Doc. 30, p. 13.

However, he fails to recognize that these repeated acts toll the statute of limitations

“so long as the last act evidencing the continuing practice falls within the

limitations period.” Brenner v. Local 514, United Bhd. of Carpenters and Joiners

of Am., 927 F.2d 1283, 1295 (3d Cir.1991) (emphasis added). In other words, he is

required to show that one of the remaining Defendants acted after July 2016.

      Defendant Dillman retired in 2012 and passed away in 2014. Amended

Compl., ¶14. Therefore, he could not have acted within the relevant time period.

Similarly, Defendant Borland left East Stroudsburg University in 2009. Amended

Compl., ¶16. Any acts while employed with East Stroudsburg University would

not have been performed within the applicable time frame. Conversely, any acts

after 2009 would not have been made while Defendant Borland was a state actor.

Therefore, any acts during the appropriate time frame, or after July 2016, cannot



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serve as the basis of a Section 1983 claim. See 42 U.S.C. § 1983; Kach v. Hose,

589 F.3d 626, 646 (3d Cir. 2009). Consequently, neither remaining individual

Defendant could have made a public statement that would cure Plaintiff’s statute of

limitations deficiency.1

      B.     Acts of Third Parties Do Not Establish a Continuing Violation.

      Because his Amended Complaint wholly fails to name an act of a named

Defendant anywhere near the appropriate time frame, Sanders attempts to establish

a continuing violation by focusing on the acts of third parties. This is insufficient to

toll the statute of limitations. See Cowell v. Palmer Twp., 263 F.3d 286, 293 (3d

Cir. 2011); Brenner, 927 F.2d at 1295. In his brief, Sanders specifically focuses his

attention on two third party acts: a statement made by the Office of Attorney

General (“OAG”) in 2018 concerning a motion for costs (Doc. 30, p. 13) and the

denial of representation in 2009 by the Office of General Counsel (“OGC”) (Doc.

30, p. 18). Neither of these acts can serve as the basis for a continuing violation.

      First, a statement or decision made by the OAG cannot be ascribed to any

Defendant. This is simply because OAG is an entirely separate agency, over which


1
  Sanders brought the Fourteenth Amendment claim against East Stroudsburg and
PASSHE as well. As arms of the state, however, they are not “persons” for the
purposes of a Section 1983 action. Will v. Michigan Dep't of State Police, 491 U.S.
58, 71 (1989). Therefore, the Fourteenth Amendment claim cannot proceed against
them and as a matter of law, no proper defendant remains.


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the Defendants had no control. Clearly, a statement or decision by a distinct entity

is the very definition of a third party act. Turning to the denial of representation,

even if that decision had been made in consultation with PASSHE, PASSHE did

not have the final say. Sanders concedes as much when he cites to the

Pennsylvania Code, stating “OGC will make its determination…” Doc. 30, p. 19

(quoting 4 Pa. Code § 39.13) (emphasis added). Therefore, neither of these actions

can serve as the basis for a continuing violation. See Cowell and Brenner, supra.

      C.     Sanders Was Aware of His Injury in 2009.

      Regardless of whether OGC’s denial can be attributed to PASSHE,

consultation would have been given when the denial occurred in 2009. Therefore,

Sanders was unmistakably aware of his injury the moment he learned that he was

denied representation in 2009. The mere fact that litigation was on-going does not

suddenly render the injury fresh each day. Sanders cites no case law in support of

this premise because to subscribe to that theory would turn the statute of

limitations doctrine on its ear. The Supreme Court already recognized this

absurdity in Wallace v. Kato, 549 U.S. 384 (2007), when it held that the cause of

action accrues even if the full extent of the injury is not known because otherwise a

plaintiff could hold the statute of limitations hostage until he were “satisfied that he

had been harmed enough.” Id. at 391. In other words, Sanders knew of his injury in




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2009 when he was denied representation and he cannot delay filing a claim merely

because the denial continued.

II.   Dismissal is Appropriate.

      Sanders additionally argues that dismissal at this stage is inappropriate and

appears to labor under the assumption that discovery will solve his statute of

limitations issue. He believes he will find the information he needs to prove a

continuing violation for a “stigma plus” claim. Doc. 30, p. 14. In reality, discovery

would be futile. In his brief, Sanders correctly notes “to satisfy the stigma prong of

the test, it must be alleged that the purportedly stigmatizing statement(s) (1) were

made publicly, and (2) were false.” Doc. 30, p. 24 (quoting Hill v. Borough of

Kutztown, 455 F.3d 225, 236 (3d Cir. 2006)) (emphasis added). Simply put,

discovery is not required to find a public statement.2

      Additionally, Sanders’ discovery would have to encompass public

statements that would fall within the appropriate statute of limitations, or from July

2016 forward. As briefed above, no remaining individual Defendant could have

made a public statement within the applicable time period and East Stroudsburg



2
  To the extent Sanders desires discovery to determine whether Defendants were
consulted by OGC when he was denied counsel, such discovery is needless. Aside
from it occurring ten years ago, consultation would not have been a public
statement.


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and PASSHE are not “persons” for the purposes of a 1983 claim. Therefore,

discovery would be futile.

      Finally, Sanders’ reliance on Schmidt v. Skolas, 770 F.3d 241 (3d Cir. 2014),

to attempt to avoid dismissal is misplaced. Schmidt concerned a shareholder’s

ability to exercise due diligence in finding an injury in order for the statute of

limitations to begin; however, the complaint was not clear regarding whether he

could have known key facts that would have made his injury fully-realized. The

Third Circuit, therefore, found that a motion to dismiss was not appropriate. Here,

Sanders knew he was terminated in 2008 and denied representation in 2009.

Accordingly, his injury was complete and fully realized in 2009. The Amended

Complaint, on its face, does not state a plausible cause of action. It was filed nearly

ten years late which no amount of discovery can remedy. As a result, dismissal is

appropriate. See Hickox v. County of Blair, 591 F.App’x 107, 109 n.1 (3d Cir.

2014).

                                  CONCLUSION

      For the foregoing reasons, and the reasons set forth in Defendants Brief in

Support of their Motion to Dismiss, Defendants’ motion should be granted, and the

Complaint dismissed with prejudice.

                                              Respectfully submitted,

                                              JOSH SHAPIRO

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                                          Attorney General


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                  Defendants :


                        CERTIFICATE OF SERVICE
      I, Allison L. Deibert, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on April 12, 2019, I

caused to be served a true and correct copy of the foregoing document titled

Defendants’ Reply Brief in Support of Their Motion to Dismiss the Amended

Complaint to the following:

VIA ELECTRONIC FILING

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